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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


GUILLERMO MARTI and FELICIA MARTI
JT TEN, derivatively on behalf of CASSAVA       No. 24-cv-02223
SCIENCES, INC.,
                                                Judge John F. Kness
                   Plaintiff,

           vs.

REMI BARBIER, ERIC J. SCHOEN,
RICHARD J. BARRY, ROBERT Z. GUSSIN,
MICHAEL J. O’DONNELL, SANFORD R.
ROBERTSON, and PATRICK J. SCANNON,

                   Defendants,

           and

CASSAVA SCIENCES, INC.,

                  Nominal Defendant.
JOSE GARZA, derivatively on behalf of
CASSAVA SCIENCES, INC.,                         No. 24-cv-02725

                   Plaintiff,                   Judge John F. Kness

           vs.

REMI BARBIER, ERIC J. SCHOEN,
RICHARD J. BARRY, ROBERT Z. GUSSIN,
MICHAEL J. O’DONNELL, SANFORD R.
ROBERTSON, and PATRICK J. SCANNON,

                   Defendants,

           and

CASSAVA SCIENCES, INC.,

                   Nominal Defendant.
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  ORDER CONSOLIDATING RELATED SHAREHOLDER DERIVATIVE ACTIONS,
            APPOINTING LEAD COUNSEL FOR PLAINTIFFS,
                AND STAYING CONSOLIDATED ACTION

       THIS MATTER HAVING been presented to the Court by plaintiffs Guillermo Marti,

Felicia Marti JT Ten, and Jose Garza, the Court having been duly advised,

       IT IS HEREBY ORDERED that:

       1.      All proceedings, deadlines, hearings, ADR requirements, and conferences in the

Consolidated Action and any deadlines to move, answer, plead or otherwise respond to the

complaint, shall be stayed or vacated through a ruling on any motion for class certification in the

Securities Class Action.

       2.      During the stay, Cassava shall promptly notify Plaintiffs of any related stockholder

derivative actions, demands for books and records under 8 Del. C. § 220 or litigation demands

made upon Cassava’s board of directors that concern the same or similar subject matter as the

Complaint in the Related Actions.

       3.      In the event that (a) a related stockholder derivative action is filed in this district or

any other; and (b) that action is not stayed for a period of equal or greater duration, Cassava shall

promptly notify Plaintiffs thereof, and Plaintiffs may lift the stay by providing thirty (30) days’

notice to Cassava’s undersigned counsel via email.

       4.      Following the expiration or lifting of the stay, Cassava will not move to stay this

Consolidated Action in deference to any other derivative action.

       5.      Within two (2) weeks of the expiration or lifting of the stay, the Parties will meet

and confer to agree upon a schedule for proceedings in this action and file a stipulation regarding

the same with the Court.

       6.      Plaintiffs may file an amended complaint during the pendency of the stay, but such




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filing will not affect the pendency of the stay, and Defendants will not be required to move, answer,

plead, or otherwise respond to any complaint during the pendency of the stay of proceedings.

       7.      During the pendency of the stay, should Cassava produce documents in connection

with a books and records demand under 8 Del. C. § 220 or another filed or threatened stockholder

derivative action concerning the subject matter at issue in this action, Cassava shall also promptly

make those documents available to Plaintiffs, subject to the execution of a mutually agreeable

confidentiality agreement or protective order.

       8.      During the pendency of the stay, Cassava will include Plaintiffs in any mediation

with the plaintiff(s) in the Securities Class Action (or any filed or threatened derivative action

concerning the same subject matter), except that if plaintiffs in the Securities Class Action (or any

filed or threatened derivative action) object to including Plaintiffs in such mediation, Cassava will

mediate with Plaintiff at or about the same time.

       9.      The stay established herein will terminate upon any of the following events: (i) entry

of an order adjudicating a motion for summary judgment filed by any of the defendants in the

Securities Class Action; (ii) the announcement that the parties in the Securities Class Action have

executed a settlement agreement, or (iii) upon thirty (30) days’ notice via email to the undersigned

counsel for Defendants by Plaintiffs in the event that another derivative action concerning the same

or similar subject matter (“Other Derivative Actions”) is not stayed for at least the same duration

or if the stays in the Other Derivative Actions are terminated.

       10.     The Related Actions are hereby consolidated for all purposes, including pre-trial

proceedings and trial, under Case No. 1:24-CV-02223:

       Case Name                             Case Number                    Date Filed

       Marti et al. v. Barbier et al.        1:24-cv-02223                  March 18, 2024



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       Garza v. Barbier et al.                1:24-cv-02725                  April 4, 2024

       11.     Every pleading filed in the Consolidated Action, or in any separate action included

herein, must bear the following caption:

                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS


IN RE CASSAVA SCIENCES, INC.                          Lead Case No. 1:24-cv-02223
DERIVATIVE LITIGATION


This Document Relates to:

               ALL ACTIONS


       12.     All papers filed in connection with the Consolidated Action will be maintained in

one file under Lead Case No. 1:24-cv-02223.

       13.     Lead Counsel for plaintiffs in the Consolidated Action shall be:

                                THE BROWN LAW FIRM, P.C.
                                          Timothy Brown
                                 767 Third Avenue, Suite 2501
                                       New York, NY 10017
                                   Telephone: (516) 922-5427
                                   Facsimile: (516) 344-6204
                               Email: tbrown@thebrownlawfirm.net

       14.     Plaintiffs’ Lead Counsel shall have the sole authority to speak for plaintiffs in the

Consolidated Action in all matters regarding pre-trial procedure, trial, and settlement negotiations

and shall make all work assignments in such manner as to facilitate the orderly and efficient

prosecution of this litigation and to avoid duplicative or unproductive effort.

       15.     Lead Counsel will be responsible for coordinating all activities and appearances on

behalf of plaintiffs. No motion, request for discovery, or other pre-trial or trial proceedings will be

initiated or filed by any plaintiffs except through Lead Counsel.


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        16.    Counsel for all of the Defendants may rely upon all agreements made with Lead

Counsel, or other duly authorized representatives of Lead Counsel, and such agreements shall be

binding on all plaintiffs.

        17.    This Order shall apply to each shareholder derivative action arising out of the same,

or substantially the same, transactions or events as these cases, which is subsequently filed in,

removed to, reassigned to, or transferred to this Court. When a shareholder derivative action that

properly belongs as part of In re Cassava Sciences, Inc. Derivative Litigation, Lead Case No. 1:24-

CV-02223, is hereafter filed in the Court, removed to this Court, reassigned to the Court, or

transferred here from another court, this Court requests the assistance of counsel in calling to the

attention of the clerk of the Court the filing, removal, reassignment, or transfer of any case that

might properly be consolidated as part of In re Cassava Sciences, Inc. Derivative Litigation, Lead

Case No. 1:24-CV-02223, and counsel are to assist in assuring that counsel in subsequent actions

receive notice of this order. Unless otherwise ordered, the terms of all orders, rulings, and decisions

in the Consolidated Action shall apply to all later shareholder derivative actions involving Cassava

filed in this Court, and such shareholder derivative actions shall be consolidated into the

Consolidated Action.

        18.    All papers and documents previously filed and/or served in the Related Actions

shall be deemed a part of the record in the Consolidated Action.

        19.    The Parties do not waive any rights or defenses not specifically addressed herein.


SO ORDERED in No. 24-cv-02223 and No. 24-cv-02725.

Date: September 6, 2024

                                                       JOHN F. KNESS
                                                       United States District Judge




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